
Swing, J.
In an action for damages to plaintiff’s premises by overflow of water, caused by the alleged negligence of the city failing to keep Columbia avenue in said city in repair, the answer set out that said avenue was being constructed under certain acts of the legislature; that said city had no control over said avenue, but the same had been wholly under the control of the state and its authorized agents, the board of city improvements. The jury found for the city. Held, there was no error in the action of the court in permitting the several acts passed by the legislature in relation to the avenue to go to the jury; that the several acts were not unconstitutional. While the city should not respond in damages for the act of the state and her agents, if said improvement had been completed, and the city had accepted and used it as a street, no formal turning over by the state, or acceptance by the city, would be necessary to render the city liable if the city took possession. These matters being questions for the jury, and the jury having found for the city, the verdict will not be disturbed. Affirmed.
